                                                                  Exhibit A




              22       April




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 1 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 2 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 3 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 4 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 5 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 6 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 7 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 8 of 11
                                                                  Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 9 of 11
                                                                   Exhibit A




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 10 of 11
                                                                                              Exhibit A




 WHEREFORE, the parties have entered into this Agreement as of the day and year first above
 written.

 FOR PLAINTIFFS:



 Jecelyn Pease, individually and on behalf of L.P.

 Kevin Pease, individually and on behalf of LP.


 Stacey Gahagan
 Attomey for Plaintiffs

 FOR RESPONDENT:

 Wake County Board of Education




 Chair, Wake County Board of Educatjót/
Liberty Mutual Insurance Company


By:                                               (SEAL)
        Authorized Representative



 Stepacn G.Rawson
Attorneys for Respondent




                                                  10




Case 5:20-cv-00481-BO Document 87-1 Filed 06/09/23 Page 11 of 11
